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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

BRANDON SODERBERG, et al.,                        *

                Plaintiffs,                       *

       v.                                         *           No. 1:19-cv-1559-RDB

W. MICHEL PIERSON, et al.                         *

                Defendants.                       *

*      *        *      *       *      *       *       *       *      *       *       *       *
    DEFENDANTS’ CONSENT MOTION TO AMEND SCHEDULING ORDER

       Defendants, through counsel and with the consent of the plaintiffs, move to amend

the Scheduling Order entered by the Court to provide that defendants will file an answer to

the complaint by September 10, 2021 rather than a motion to dismiss. In support of their

motion, the defendants state:

       1.       On January 14, 2020, this Court granted defendants’ initial motion to

dismiss, ruling that the State of Maryland’s ban on broadcasting recordings of criminal

trials was a content-neutral regulation of the time, place, and manner of speech that

survived intermediate scrutiny under federal law. (ECF 31.)

       2.       On appeal, the United States Court of Appeals for the Fourth Circuit reversed

and remanded the case for a determination as to whether the State of Maryland’s broadcast

ban satisfies strict scrutiny, i.e., that it is “narrowly tailored to a state interest of the highest

order.”
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       3.       On July 14, 2021, the Court issued an order providing that defendants were

to file an amended motion to dismiss by September 10, 2021 addressing the State’s position

that the broadcast ban satisfies strict scrutiny, and scheduling a hearing on defendants’

amended motion to dismiss for October 28, 2021. (ECF 46.)

       4.       Upon further review of the law and the record in this case, defendants have

determined that, in order to make the required showing, they will need to rely on matters

outside the allegations in the complaint. Specifically, defendants believe they will need to

submit affidavits and possibly expert testimony to explain how and why the broadcast ban

serves the State’s interest.

       5.       In light of the foregoing, defendants respectfully request that the Court

amend the scheduling order to provide that defendants will file an answer to the complaint

no later than September 10, 2021. This will allow the parties to proceed with discovery

and brief the strict scrutiny question on summary judgment.

       6.       Counsel for plaintiffs has consented to the relief sought herein.

       WHEREFORE, for the reasons stated herein, defendants respectfully request that

the Court enter the attached order amending the scheduling order entered on July 14, 2021,

and providing that defendants shall file an answer to the complaint no later than September

10, 2021.
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Date: September 1, 2021            Respectfully submitted,

                                   BRIAN E. FROSH
                                   Attorney General of Maryland

                                   /s/ Robert A. Scott_______________

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